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                                                                       EXHIBIT
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Profit Over Planet: Surfrider Foundation, the
     Sierra Club, Heal the Bay, and San
Francisco Baykeeper Sue Exxon for Hiding
       the Truth About Plastic Harms
   Environmental Coalition, represented by Cotchett, Pitre & McCarthy, Sues
                   Exxon for Nuisance Caused by Plastic Pollution

SAN FRANCISCO, Calif., September 23, 2024 — Today, a coalition of non-profit
environmental organizations including the Surfrider Foundation, the Sierra Club, Heal the Bay,
and San Francisco Baykeeper, represented by Cotchett, Pitre & McCarthy, filed a lawsuit
against ExxonMobil (“Exxon”), the world’s largest producer of single-use plastic polymers. The
complaint, filed in San Francisco County Superior Court, alleges violations of California
nuisance law and California unfair competition law and alleges Exxon concealed the harms
caused by single-use plastics. The suit further alleges that Exxon systematically led the public
to believe that plastic waste is easily and safely disposable via recycling, incineration or
landfills, when in reality, plastic persists in the environment for thousands of years, leaking toxic
chemicals that are known to harm human health and the environment. Exxon’s conduct has
exacerbated the environmental crises of plastic pollution and harmed California’s coasts and
waterways. The California Attorney General’s Office filed a separate action Monday addressing
the same crises.

Even with recycling programs in place, in the U.S. less than 5% of our plastic is recycled into
another plastic product, despite being labeled as “recyclable.” Even when plastic is recycled, it
is often just recycled once and then ultimately discarded, which is why Exxon is continuing to
scale up its virgin plastic polymer production capacity. As alleged, these Exxon-produced
polymer resins are directly responsible for over 6 million metric tons of plastic waste annually —
equivalent to the weight of 300,000 garbage trucks — which end up contaminating our
environment and our bodies, at every stage of its product lifecycle.
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NPR reported in 2020 that fossil fuel giants knew for decades that recycling wouldn’t solve the
plastic waste environmental crisis or keep plastic out of landfills, according to internal industry
documents. The Center for Climate Integrity also reported that Exxon spent millions of dollars
on efforts to manipulate consumers’ perceptions of plastics recycling.

Over 90% of U.S. consumers consider the amount of plastic in a product before deciding on a
purchase. Exxon knew this fact — and exploited it. The complaint alleges Exxon concealed the
truth about plastic and recycling, downplaying the risk of pollution from their products, while
continuing to sell single-use plastics knowing they would be discarded.

Plastic pollution never biodegrades. Instead, plastic pollution breaks down into smaller and
smaller pieces — sometimes referred to as microplastics. Avoiding microplastics in our daily
lives is virtually impossible. It is in our drinking water, it is in the food we eat, and it is even in
the air we breathe. The average American inhales and ingests the equivalent of a credit card's
worth of microplastics each week, and microplastics have been found in human blood, heart
and brain tissue, placentas, and even breast milk. This is well beyond consumer choice or
individual responsibility — and there must be corporate accountability for a decades-long
campaign to bury the truth about the known human health impacts caused by plastics.

The complaint alleges it’s time to hold Exxon responsible for decades of deceit about recycling,
for overproducing plastics, and for the harm they cause to our environment and our bodies.
This lawsuit seeks to protect Californians from Defendant’s harmful conduct.

QUOTES:

“Some of the greatest progress in American history was caused by civil lawsuits holding the
powerful accountable for their actions,” said Niall McCarthy, partner at Cotchett, Pitre &
McCarthy. “This is another such case brought by the most prominent environmental nonprofits
in California who are willing, for the public good, to take on a company worth billions. The case
will expose the devastation caused by single-use plastics and the deceptive recycling myth
pushed by plastic producers such as ExxonMobil. The case, at its core, is about accountability.
ExxonMobil’s promises of being a good corporate citizen are divorced from the reality of its
conduct. As detailed in the complaint, ExxonMobil’s single use plastics are smothering
California’s environment.”

“As alleged in the complaint, Exxon profited by claiming plastics are safe and recyclable. But
we know better now—our environment and health were being sacrificed just to protect Exxon's
bottom line,” said Allison Chin, President of the Sierra Club’s Board of Directors. “Plastic
pollution has risen to be one of the defining environmental issues of our time. If we're going to
clean up the mountains of plastic waste, Exxon needs to clean up its act. Big Oil, beware: Your
days of polluting with impunity are over."
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“For 40 years, the Surfrider Foundation has been fighting to protect our ocean, waves, and
beaches. We've battled plastic pollution through beach cleanups, public education, and
commonsense policy initiatives at the local, state, and federal levels. Despite these tireless
efforts, 85% of items collected in our California beach cleanups in 2023 were still single-use
plastics,” said Jennifer Savage, the Surfrider Foundation’s Sr. Plastic Pollution Initiative
Manager. “Now, for the health of our ocean and the people who depend on it, we’re taking this
fight to court to hold Exxon accountable for their contribution to the plastic pollution crisis.”

“The complaint alleges that Exxon has brainwashed everyone into thinking that plastic recycling
works and that it’s good for the planet. But when we pulled back the curtain, we found that
Exxon’s plastic polymers are poisoning waterways, wildlife, and people," said Sejal Choksi-
Chugh, executive director of San Francisco Baykeeper. "San Francisco Bay has some of
the highest levels of microplastics in the world. That’s why we’re going after Exxon: to stop
plastic pollution at the source. This stuff is killing us a little bit more every day, and we won't let
Exxon gaslight us into believing this is normal. People and wildlife around the Bay deserve to
live free from exposure to toxic petrochemicals and microplastics."

“Plastic is choking the life out of our ocean. It’s turning California shorelines into waste dumps.
And it’s also draining our pocketbooks,” said Tracy Quinn, president and CEO of Los
Angeles-based nonprofit Heal the Bay. “California taxpayers shell out an estimated $420
million each year to clean up and prevent plastic pollution from fouling our public places. Public
money should be used for public good – not subsidizing big profits for Big Plastic.”

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ABOUT COTCHETT, PITRE & MCCARTHY

Cotchett, Pitre & McCarthy represents people or entities in cases involving only just principles
or causes. The key to CPM’s 50 years of success is its experienced attorneys and staff and
their innovative approach to litigating complex matters in a cost-effective and efficient manner.
CPM attorneys are experienced in state and federal false claims matters, antitrust law,
securities actions, employment law, consumer class actions, and personal injury cases, among
other practice areas.

ABOUT SURFRIDER FOUNDATION

The Surfrider Foundation is a nonprofit grassroots organization dedicated to the protection and
enjoyment of our world’s ocean, waves, and beaches for all people through a powerful activist
network. Founded in 1984 by a handful of visionary surfers in Malibu, California, the Surfrider
Foundation now maintains more than a million supporters, activists, and members, with over
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200 volunteer-led chapters and student clubs in the U.S., and more than 900 victories
protecting our coasts. Learn more at surfrider.org.

ABOUT HEAL THE BAY

Heal the Bay is an environmental nonprofit established in 1985 that is dedicated to making the
coastal waters and watersheds in Greater Los Angeles safe, healthy, and clean. They use
science, education, community action, and advocacy to fulfill their mission. Learn more at
healthebay.org

ABOUT SIERRA CLUB

Founded in 1892, The Sierra Club is America’s largest and most influential grassroots
environmental organization of local volunteers dedicated to exploring, enjoying, and protecting
the outdoors, with more than 3.5 million members and supporters. In addition to protecting
every person's right to get outdoors and access the healing power of nature, the Sierra Club
works to promote clean energy, safeguard the health of our communities, protect wildlife, and
preserve our remaining wild places through grassroots activism, public education, lobbying, and
legal action. Learn more at sierraclub.org

ABOUT SAN FRANCISCO BAYKEEPER

San Francisco Baykeeper defends the Bay and its watershed against its biggest threats. Its
team of lawyers, scientists, and advocates holds polluters accountable and has achieved a
winning record for over 30 years. Baykeeper is the only organization that regularly patrols the
Bay by boat and drone to investigate pollution and harmful activities. It is working towards a
San Francisco Bay where the water is clean, communities are healthy, and wildlife thrives. For
more information visit: baykeeper.org.
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